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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                  FT. LAUDERDALE DIVISION


   SPRINT COMMUNICATIONS, INC.,

             Plaintiff/Counterclaim Defendant,

   v.

   STEPHEN CALABRESE, as an individual,                     Case No. 0:18-cv-60788-JEM-LSS
   NEXTEL, INC. d/b/a NEXTEL
                                                                         Jury Trial Demanded
   WORLDWIDE, RETROBRANDS USA
   LLC, JEFFREY KAPLAN, as an individual,
   and NEXTEL MOBILE WORLDWIDE
   INC.

             Defendants/Counterclaimants.


                     PLAINTIFF SPRINT COMMUNICATIONS, INC.’S
                    UNOPPOSED MOTION FOR LEAVE TO FILE UNDER
                 SEAL CERTAIN DESIGNATED DEPOSITION TRANSCRIPTS

         Plaintiff and Counterclaim Defendant Sprint Communications, Inc. (“Sprint”), by and

  through its undersigned counsel and pursuant to Local Rule 5.4(b) and Paragraph 12 of the August

  29, 2018 Confidentiality Stipulation and Protective Order [D.E. 67], moves the Court for leave to

  file transcripts of the depositions of Melissa Jobe, Brian Mancuso, Thomas Shaughnessy, and Scott

  Wiley (the “Deposition Transcripts”) under seal, or, in the alternative, for leave to submit the

  Deposition Transcripts to the Court for in camera inspection. As grounds thereof, Sprint states as

  follows:

         1.        On August 29, 2018, the Court entered an agreed upon Confidentiality Stipulation

  and Protective Order [D.E. 67], permitting the parties in the above-captioned case to designate

  documents produced in the course of discovery as “Confidential” and/or “Highly Confidential –

  Attorneys’ Eyes Only.”
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         2.      Over the course of this litigation, Sprint has designated as “Confidential” and/or

  “Highly Confidential – Attorneys’ Eyes Only” a number of internal sales materials, internal

  branding strategies, financial and other sales data, exemplar invoices and purchase orders, and

  third-party confidential offers that contain Sprint’s confidential and proprietary business

  information. The Deposition Transcripts Sprint seeks to file under seal contain testimony related

  to confidential and/or highly confidential documents and/or discuss and reveal the content of that

  confidential and/or highly confidential information.

         3.      This Court has previously permitted Sprint to file portions of these depositions

  under seal in support of Sprint’s motion for Summary Judgment. [D.E. 135].

         4.      Sprint seeks to file the above-referenced Deposition Transcripts pursuant to this

  Court’s Order Setting Civil Trial Date and Pretrial Schedule, Requiring Mediation, and Referring

  Certain Motions to Magistrate Judge. [D.E. 54].

         5.      Accordingly, Sprint submits that it would be appropriate for the Court to allow

  Sprint to file this information with the Court under seal to allow consideration of the documents

  without revealing Sprint’s designated information.

         6.      Consistent with Local Rule 5.4(b)(1), Sprint has not filed copies of the above-

  referenced Deposition Transcripts, but it can provide them to the Court immediately upon request.

                                   MEMORANDUM OF LAW

         According to the U.S. Supreme Court, the right of the public to access judicial records is

  not absolute. See Globe Newspaper Co. v. Superior Court for Norfolk County, 457 U.S. 596, 598

  (1982). When deciding whether to grant a party’s motion to seal, the Court is required to balance

  the historical presumption of access against competing interests. See Newman v. Graddick, 696

  F.2d 796, 803 (11th Cir.1983). In balancing these interests “courts consider, among other factors,

  whether allowing access would impair court functions or harm legitimate privacy interests, the

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  degree of and likelihood of injury if made public, the reliability of the information, whether there

  will be an opportunity to respond to the information, whether the information concerns public

  officials or public concerns, and the availability of a less onerous alternative to sealing the

  documents.” Romero v. Drummond Co., Inc., 480 F.3d 1234, 1246 (11th Cir. 2007). “Good cause

  is established by the moving party when disclosure will cause the party to suffer a clearly defined

  and serious injury.” Vista India, Inc. v. Raaga, LLC, Case No. 07–1262, 2008 WL 834399, at *2

  (D. N.J. Mar. 27, 2009). Where allowing public access to documents could violate Sprint’s

  legitimate and private interests, sealing the record is appropriate. See NXP B.V. v. Research In

  Motion, Ltd., No. 6:12-CV-498-ORL-22, 2013 WL 4402833, at *2 (M.D. Fla. Aug. 15, 2013).

         In the instant matter, the Confidentiality Stipulation and Protective Order recognizes that,

  due to the nature of this case, the parties are required to produce and occasionally file commercially

  sensitive, non-public information with the Court that reflects their business and marketing

  strategies, sales, and other non-public sensitive, proprietary information. Sprint’s request that the

  Court permit it to file the Deposition Transcripts under seal is in accord with the spirit and purpose

  of the Confidentiality Stipulation and Protective Order as these Deposition Transcripts contain

  testimony and discussion of documents that have been designated as “Highly Confidential –

  Attorneys’ Eyes Only” by Sprint.

         Courts have previously found good cause to permit filing under seal where proprietary

  information and/or trade secrets are at issue. See, e.g., Joao Bock Transaction Sys., LLC v. Fid.

  Nat’l Info. Servs., Inc., Case No. 3:13-cv-223-J-32JRK, 2015 U.S. Dist. LEXIS 13241, at *6 (M.D.

  Fla. Feb. 4, 2015) (“the Court finds good cause for filing the invalidity and infringement

  contentions under seal as they contain trade secret information regarding the accused and other

  banking software products”); Bastian v. United Servs. Auto. Ass’n, Case No. 3:13-cv-1454-J-

  32MCR, 2014 U.S. Dist. LEXIS 169392, at *4-5 (“The Court finds that there is good cause for

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  USAA to file the materials at issue under seal. USAA has shown that its internal operating

  procedures are proprietary and may be relevant to the Court’s consideration of USAA’s motion

  for summary judgment.”); WIT Walchi Innovation Techs, Gmbh v. Westrick, Case No. 12-CIV-

  20072-COHN/SELTZER, 2012 U.S. Dist. LEXIS 7907 (S.D. Fla. Jan. 24, 2012) (“Revelation of

  trade secrets would be a reason to seal an agreement.”). In fact, another court has previously

  permitted the sealing of the License Agreement and related documents on just these grounds. See

  Alexsam, Inc. v. Mastercard Int’l Inc., Case No. 1:15-cv-02799-BMC (D.E. 5) (E.D.N.Y. May 15,

  2015) (“The Court finds that the qualified right of public access is outweighed by the need to

  protect confidential and proprietary commercial information.”).

         Accordingly, Sprint respectfully requests leave to file the Deposition Transcripts under seal

  because: (1) Sprint has designated the material as highly confidential under the terms set forth in

  the Confidentiality Stipulation and Protective Order, which expressly recognizes that the parties

  may seek leave to file designated material under seal; and (2) the Deposition Transcripts constitute

  documentary evidence requested by this Court and required for trial; and (3) requiring Sprint to

  file the Deposition Transcripts publicly would force Sprint to disclose publicly information that it

  has previously designated.

         Sprint submits that the seal should be permanent in light of the Confidentiality Stipulation

  and Protective Order. Alternatively, for similar reasons stated above, Sprint request leave to

  submit the Deposition Transcripts to the Court for in camera inspection.

                                           CONCLUSION

         WHEREFORE, for the foregoing reasons, Sprint respectfully requests that this Court grant

  this Motion and grant Sprint leave to file transcripts of the depositions of Melissa Jobe, Brian

  Mancuso, Thomas Shaughnessy, and Scott Wiley under seal. Alternatively, Sprint requests leave

  to submit those Deposition Transcripts to the Court for in camera inspection.

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                 CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1

         Pursuant to Local Rule 7.1, counsel for Sprint certifies that it has conferred with James

  J. Kernell, counsel for Defendants, prior to filing this motion and that Defendants do not oppose

  the relief requested herein.




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  Date: September 20, 2019           Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on September 20, 2019, a true and correct copy of the foregoing

  was filed with the Court using the CM/ECF system, which will send notice to all counsel listed on

  the below Service List.

                                                      /s/ Emily Y. Rottmann



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                                Case No. 0:18-cv-60788-JEM-LSS

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